Case 2:05-cr-20049-BBD Document 22 Filed 05/23/05 Page 1 of 2 PagelD 20

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|SION

 

 

UN|TED STATES OF AIV|ER|CA

Plaintiff
VS.
CR. NO. 05-20049-D
NOR|VlAN CARR|CK
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Nlay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a [_eM_t
date of Thursda§[l June 30l 2005l at 9:00 a.m., in Courtroom 3. 9th F|oor of the Federal
Building, l\/lemphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

n is so oRDERED this /ZO day of May, 2005.

     

ERN|CE B. ONALD
N|TED STATES D|STRICT JUDGE

et sheet in compliance

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T`nls document entered on the doc n £;_ZJ:£:QL_
with Rule 55 andlor 32(‘:)) FHCrP o

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20049 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

